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UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      24-10438

      Goli Nutrition, Inc. and Goli Nutrition, Inc.




      Case Type :                       bk
      Case Number :                     24-10438
      Case Title :                      Goli Nutrition, Inc. and Goli Nutrition, Inc.
      Judge :                           Laurie S. Silverstein
      Courtroom :                       6th Floor Courtroom 2, Wilmington, DE
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